Case 1:22-cr-00408-CKK Document 33 Filed 12/22/22 Page 1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
V.
EDWARD KELLEY,
Defendant.

Criminal Action No. 22-408 (CKK)

 

 

ORDER
(December 22, 2022)

On December 16, 2022, the Government filed a Complaint alleging that, while on release
in this case, Defendant conspired with others to engage in certain acts of domestic terrorism,
including the assassination of Federal Bureau of Investigation agents involved in this case. See
generally ECF No. 3, United States v. Kelley, No. 3:22-mg-02228-JEM (E.D. Tenn.); see also 18
U.S.C. § 2331(5) (defining “domestic terrorism”). Upon consideration thereof, the [32] Pretrial
Violation Report, and in light of Defendant’s consent to revocation at the December 22, 2022
status hearing before this Court, the Court finds by clear and convincing evidence that Defendant
has violated a condition of his release, that there is no condition or combination of conditions
that will assure that Defendant will not pose a danger to the safety of the community, and that
Defendant is unlikely to abide by any condition or combination of conditions of release. See 18
U.S.C. § 3148(b)(1)(B), (b)(2). Accordingly, and pursuant to 18 U.S.C. § 3148, it is hereby

ORDERED, that Defendant’s pretrial release is REVOKED. It is further

ORDERED, that Defendant is REMANDED to the custody of the United States
Marshal Service forthwith. Until further order of the Court, Defendant may be detained at his
current facility in the Eastern District of Tennessee.

SO ORDERED.

Dated: December 22, 2022 fey
(buns K, lie. KEL

COLLEEN KOLLAR-KOTELLY

United States District Judge
